      4:20-cv-03767-BHH            Date Filed 12/03/21     Entry Number 32     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION

PAULA SMALLWOOD,                              )        Civil Action No. 4:20-cv-03767-BHH
                                              )
                      Plaintiff,              )
                                              )
                v.                            )
                                              )
KILOLO KIJAKAZI,                              )
Acting Commissioner of the                    )
Social Security Administration,               )
                                              )
                      Defendant.              )

                                             ORDER

       This matter is before the court on the parties’ Stipulation for Attorney’s Fees Pursuant to

the Equal Access to Justice Act (EAJA), ECF No. 30, advising of their agreement to stipulate to

an award of Ten Thousand, Seven Hundred Dollars and 00/100 Cents ($10,700.00) in attorney

fees to Plaintiff. Plaintiff has also provided a Petition for EAJA Fees, ECF No. 29, in which

counsel provided itemization of the fees sought.

       The parties have stipulated that Plaintiff, Paula Smallwood, should be awarded attorney

fees under the EAJA in the amount of Ten Thousand, Seven Hundred Dollars and 00/100 Cents

($10,700.00). These attorney fees will be paid directly to Plaintiff, Paula Smallwood, and sent to

the business address of Plaintiff’s counsel, Timothy A. Clardy, Esquire. Full or partial remittance

of the awarded attorney fees will be contingent upon a determination by the Government that

Plaintiff owes no qualifying, pre-existing debt(s) to the Government. If such a debt(s) exists, the

Government will reduce the awarded attorney fees in this Order to the extent necessary to satisfy

such debt(s).

       An award of Ten Thousand, Seven Hundred Dollars and 00/100 Cents ($10,700.00) in

attorney fees pursuant to the EAJA is granted in accordance with this Order.

                                                   1
     4:20-cv-03767-BHH       Date Filed 12/03/21   Entry Number 32   Page 2 of 2




       IT IS SO ORDERED.



                                                s/ Bruce Howe Hendricks
                                               ________________________________
                                               Honorable Bruce Howe Hendricks
                                               United States District Judge

December 3, 2021
Charleston, South Carolina




                                           2
